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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                           VICINAGE OF CAMDEN

   MARC A. STEPHENS,
                                                  Hon. Karen M. Williams, U.S.D.J.
       Plaintiff,                                 Hon. Matthew J. Skahill, U.S.M.J.
          v.                                      CIVIL ACTION NO. 22-cv-01989
   GURBIR S. GREWAL, et al.,
                                                             Civil Action

       Defendants.                                CERTIFICATE OF SERVICE




        I, Peter Sosinski, Deputy Attorney General of the State of New Jersey, do hereby

 certify that a reply brief was submitted to the Court on behalf of Defendants Gurbir S.

 Grewal, the Atlantic County Prosecutor's Office, and Michael Mattioli via electronic

 filing with the Clerk of the United States District Court for the District of New Jersey

 on the date shown below.
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       I further certify that I have caused true and correct copies of the said Notice of

 Motion and supporting documents electronically filed with the Court to be sent via

 regular and certified mail to the following pro se plaintiff and non-ECF user:

       271 ROSEMONT PL
       ENGLEWOOD, NJ 07631


       I certify that the foregoing statements by me are true. I understand that if any of

 the foregoing statements are willfully false, I am subject to punishment.



                                         __s/ Peter Sosinski_______
                                         Peter Sosinski
                                         Deputy Attorney General


 DATED: August 8, 2022
